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 UNITED STATES O F AM ERICA,

 V.

 SONNY AUSTIN RAM DEO .

                Defendant
                                     /

                                           INDICTMENT
 The G rand Jury charges that:
                                  GENERA L ALLEGATIO NS

 AtaI1tim es m aterialto this Indictm ent:
 1. Prom ise Healthcare Inc.is an entity that provides m anagem entservices to hospital

      facilities throughout the United States. There are approximately fi
                                                                        fteen hospitals

      owned by the same individuals who own and operate Prom ise Healthcare Inc.,and
      the hospitals are treated as affiliated and subsidiary com panies of Prom ise
      Healthcare lnc. Iocated in the follow ing seven states: Florida,A rizona,California,

      Louisiana,Mississippi,Texas,and Utah (hereinafter'the Promise Hospi
                                                                        tals'').
 2. The m anagem ent services provided by Prom ise Healthcare Inc. include, am ong

      other things, central payroll and payroll tax paym ents and central purchasing

      activities. Prom ise Healthcare lnc.and alIof the affiliated hospitals m aintain their

      corporate headquarters in Boca Raton,Florida.


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     Success Healthcare, LLC is an entity that owns and operates hospital facilities

    through theirsubsidiaries and affiliates. Success Healthcare,LLC is owned by and

     operated by the same individuals holding ownership interestin Prom ise Healthcare

     Inc. Success Healthcare, LLC operates two hospitals Iocated in California and

     M issouri. Prom ise Healthcare Inc.provides m anagement services to the Success

     Healthcare,LLC,hospitals including payrolland payrolltax paym ents.

  4. The corporations and hospitals referred to in paragraphs 1 and 2 above are

     hereinafterreferred to as 'dthe Com panies''.

  5. Beginning at Ieast as early as 2005, Defendant SO NNY A USTIN RAM DEO

     (hereinafter''RAMDEO'')was employed as the directorofpayrollofthe Companies,
     and worked in the Boca Raton, Florida o#ices of the Com panies. Defendant

     RAM DEO was responsible for overseeing the paym ent of bi-weekly wages and

     related payrolltaxes form ore than 3,500 em ployees ofthe Com panies.

  6. A Reverse Automated Clearinghouse (hereinafter''ACH'')transaction is a bank to
     bank transaction in w hich the bank accountholderauthori
                                                            zes anotherparty,such as

     a vendor,to withdraw funds from its accountvia a wire transfer.Itis called a reverse

    w ire because itis initiated by the recipientofthe funds,ratherthan the sender. The

     benefitto the funds recipientis thatthe transferis secure'
                                                              ,the benefitto the payeris

    that once it has authorized the bank in writing to respond to future drawdow n

     requests,no w ork is required on the payer's partto execute a transfer.

     Ceridian Corporation, an independent payroll service, was contracted to provide

     payroll and payroll tax paym ent services to the Com panies from in or around

    October 2006 until March 2010. Monies were placed by accounting depadm ent
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     personnel at the Com panies, Iocated in Boca Raton, Florida, into individual
     operating accounts for each of the Prom ise Hospitals at Mercantile Bank, Iater

                                     'TD Bank''). Thereafter,Ceridian Corporation
     known as TD Bank,NA (hereinafterI
     conducted reverse ACH transactions from the Com panies' various TD Bank

     accounts to Ceridian Corporation's business bank account. The reverse ACH

     transactions were authorized for the sole purpose of paying the Iocal,state and

     federalgovernm entpayrolltaxesforthe Com panies.

  8. In oraround March 2010,Ceridian Corporation stopped processing and forwarding

     these tax paym ents to Iocal,state and federaltaxing agencies,and the Com panies

     began m aking the tax payments for the Prom ise Hospitals in-house, under the

     direction ofdefendantRAM DEO ,as directorofPayroll,untilOctober2010.

  9. A book transfer is defined as the transfer offunds from one deposit account to

     anotheratthe sam e financialinsti
                                     tution.A book transferis a way to elim inate check

     clearing floatbecause unlike with interbank transfers,there is no waittim e forfunds

     to be credited with intrabanktransfers.

                                COUNTS O NE THRO UG H THREE
                                       W IRE FRAUD
                                          (I8.S.C.51343)
  10.Paragraphs 1 through 9 ofthe GeneralAllegations sed ion ofthis Indictm entare re-

     alleged and incorporated by reference as though fully setforth herein.

  11.Beginning at least as early as Septem ber 3,2010, and continuing through on or

     aboutOctober12,2012,atBoca Raton,Palm Beach County,in the Southern District

    ofFlorida,and elsewhere,the defendant,
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                                      SO NNY AUSTIN RAM DEO ,

     did knowingly,and with intentto defraud,devise and intend to devise a schem e and

    artifice to defraud and to obtain m oney and property by m eans of m aterially false

     and fraudulent pretenses,representations, and prom ises,know ing that they were

    false and fraudulentwhen m ade.

                   PURPOSE O F THE SCHEM E AND ARTIFICE TO DEFRAUD

     It w as the purpose of the scheme and adifice to defraud for the defendant to

     unlawfully enrich him self by falsely representing to officers and em ployees of the

     Com panies that m oney entrusted to Payserv Tax Inc. would be used to pay the

     Prom ise Hospitals'payrolltaxes,thereby inducing the com panies to transferm ore

    than $20,000,000.00 to the defendant's company,Payserv Tax Inc.,which funds he
    then fraudulently diveded forhis own personaluse and benefit,including transferring

     m oneysto his com pany,EZ-JetG T lnc.

                                      MANNER AND M EANS

  13.DefendantRAM DEO carried outthe fraud in the following m annerand by using the

    following m eans,am ong others:

        a. DefendantRAM DEO incorporated Payserv Tax,Inc.on oraboutSeptem ber

           3,2010. RAM DEO served as incorporator,and sole olicerofPayserv Tax,

           Inc. Atvarious tim es Payserv Tax,Inc.w as also known as Payservice Tax,

           Inc.,PayTax Service and Pay-Tax;




                                            4
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        b. Defendant RAM DEO opened electronic checking account xxxxxx9715 at
           PNC Bank,NA,in Sunrise,Florida,in the nam e ofPayserv Tax,lnc.'
                                                                         ,

        c. DefendantRAM DEO told officers and em ployees ofProm ise Healthcare Inc.

           that Payserv Tax,Inc.would provide the service oftransferring Iocal,state

           and federalpayrolltaxes to the properagencies on behalfofthe Com panies'
                                                                                  ,

        d. DefendantRAM DEO falsely stated in an e-mail,purpoded to be sent by an

           em ployee of Pay-Tax,thatthe com pany processing the Prom ise Hospitals'

           Iocal, state and federal payroll taxes was a subsidiary of Ceridian

           Corporation'
                      ,
                                V0$O US
        e. In or about October 29M 7 defendant RAMDEO created forms (known as
           Funds TransferSchedules D,orForms D)authorizing Payserv Tax,Inc.to
           conduct reverse ACH transactions to obtain m oneys from the operating

           accounts ofaIIexisting Prom ise Hospitals atTD Bank;
                               W otht'
                                     .A
        f. In orabout M arch 241-27 defendant RAM DEO created a Form D authorizing

           Payserv Tax, Inc. to conduct reverse ACH transactions to obtain m oneys

          from the operating accountforthe Prom ise HospitalofFlorida atthe Villages,

           Inc.,atTD Bank;

       g. From his office in Boca Raton,FL,defendantRAM DEO caused w ire transfers

          from the Prom ise Hospitals'accounts through the operation of reverse ACH

          transactions at TD Bank,Iocated in W ilm ington,Delaware to the account of

           Payserv Tax,Inc.atPNC Bank,in Pittsburgh,Pennsylvania,forthe benefi
                                                                             tof

           Payserv Tax,Inc.;
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        h. Defendant RA M DEO incorporated,ow ned and m anaged EZ-Jet GT Inc.,an

           internationalchader airline service,w hose corporate headquarters were in

           Sunrise,Florida. In orabout Novem ber2011,RAM DEO opened electronic

           checking account xxxxxx7078 at PNC Bank, NA ,in Sunrise,Florida,in the

           name ofEZ-JetG T Inc.

           DefendantRAM DEO caused book transfers ofm oney from the Payserv Tax,

           Inc. accounts at PNC Bank, NA which were designated for paym ent of the

           Prom ise Hospitals' payrolltaxes due and ow ing to Iocal,state and federal

           taxing agencies to EZ-Jet GT Inc. bank accounts at PNC Bank, NA.

           Defendant RAM DEO then used these m oneys for his own benefit,including

           paymentofEZ-JetGT Inc.expenses incurred in orderto operate the chader

           airservice such as airplane and crew rental,fuel,food,ground crew and air

           term inalcosts.


                                      USE O F THE W IRES

  14.On oraboutthe dates specified as to each Countbelow ,in the Southern Districtof

    Florida and elsew here,the defendant,forthe purpose ofexecuting the schem e and

    adifice to defraud and to obtain money by means of m aterially false and fraudulent

    pretenses, representations,and prom ises,did know ingly transm it and cause to be

    transm itted,by means ofw ire com m unication in interstate and foreign com m erce,

    cedain writings, signs, signals, pictures and sounds as set forth in each Count

    below:




                                          6
Case 9:12-cr-80226-KAM Document 3 Entered on FLSD Docket 12/06/2012 Page 7 of 10




   COUNT           DATE             DESCRIPTIO N O F W IRE COM M UNICATIO N
                                O rderfora reverse ACH transaction sentto TD Bank in
                                W ilm ington, Delaware over the W orld W ide W eb,
               December8,       causing funds in the amountof$45,000.00 to be wired
                    2011        from the Prom ise Hospital of East Los Angeles L.P.
                                accountatTD Bank to the Payserv Tax,Inc.accountat
                                PNC Bank.
                                Orderfora reverse ACH transaction sentto TD Bank in
                                W ilm ington, Delaware, over the W orld W ide W eb,
              J                 causing funds in the amount of $318,696.19,to be
                 uly 11,2012    w ired from the Prom ise Hospitalof East Los Angeles
                                L.P. account at TD Bank to the Payserv Tax, lnc.
                                accountatPNC Bank.
                                O rderfora reverse ACH transaction sentto TD Bank in
                                W ilm ington, Delaware, over the W orld W ide W eb,
             O                  causing funds in the amount of $100,828.42,to be
                 ctober9,2012   wired from the Prom ise Hospi
                                                            tal of Ascension lnc.
                                accountatTD Bank to the Payserv Tax,Inc.accountat
                                PNC Bank.

  AIIin violation ofTitle 18,United States Code,Sections 1343 and 2.
                                               A TRUE BILL



                                               FO REPERS



  W IFREDO A.FERRER
  UNITED STATES ATTORNEY




   LLEN L.CO HEN
  ASSISTANT UNITED STATES ATTO RNEY
   Case 9:12-cr-80226-KAM Document 3 Entered on FLSD Docket 12/06/2012 Page 8 of 10




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                                  BO N D RE CO M M END A TIO N



DEFENDANT:SONNY AUSTIN RAM DEO

             Pre-trialDetention
             (PersonalSurety)(CorporateSurety)(Cash)(Pre-TrialDetention)




                                              By:
                                                      USA: ELLEN L.COHEN




LastKnow n A ddress:




W hatFacility:




Agentts):          W ENDE BARFELD
                   (FBl) (SECRET SERVICE) (DEA) (1RS) (ICE) (OTHER)
 Case 9:12-cr-80226-KAM Document
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                                                   COURT
                          SOUTHERN DISTRICT OF FLORIDA

UNITED STATES OF AM ERICA                     CASE NO.
VS.
                                              C ERTIFICATE O F TRIA L ATTO R NEYA
SO NNY AUSTIN RAM DEO,
                          Defendant.
              .                        l      Superseding Case Inform ation:


CourtDivision:(sel
                 ectone)                      New Defendantls)                 Yes           No
                                              NumberofNew Defendants
                                              Totalnum berofcounts
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       FTaLmi v          W
                         Ke)BWest      FTp
       ldo herebycedifythat:
              Ihave carefullyconsi
                                 deredthe allegationspfthe indictm:nt the numberRfdefendants the num berof
              probablewitnessesandtheIegalcompl
                                              exltiesoftheIndlctMent/lnformatlonattachedhereto.
       2.     Iam Mwarethatthe informationsupplied gn thij qtaterpentwillbe relied upon bythe Judgesofthis
              Coud Insetting theirçalendarsand schedullngcrlmlnaltrlalsunderthe mandateoftheSpeed-yTrialAct,
              Title 28 U.S.C.Sectlon 3161.
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       5.       Please check appropriate categoryand type ofolense Iisted below:
                (Checkonlyone)                                (Checkonlyone)
                0 to 5 days                                             Petty
                6 to 10 days                                            Minor
                11 to 20 days                                           Misdem .
                21 to 60 days                                           Felony
                61 days and over
       6.       HasthiscasebeenpreviouslyfiledinthisDistrictCouft? (YesorNo)          nn
       lfyes:
       Judge:                      -                  Case No.
       (Attachcopy9fdisposi
       H                  tivegrdej
         asacomplalntbeenfiled lnthlsmatter?          (YesorNo)          Nn
       Ifyej:
       Maglstrate Case No.
       Related Misc:llaneous num bers:
       Defendantts)lnfederalcustodyasof
       Defendantls)Instatecustodyasof
       Rul
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       lsthi
           sa potentialdeath penaltycase?(YesorNo)
                Doesthiscaseoriginatefrom a matterpending inthe Nodhern Regionofthe U.S.Attorney'sOliceprior
                to October14,2G03?           Yes nn          No

                Doesthiscase originate from a m atterpending in the CentralRegionofthe U.S.Attorney'sOffice pri
                                                                                                              or
                to Septem ber1,2D07?           Yes nn            No




                                                        LLEN L COHEN
                                                      ASqI
                                                      Florlda
                                                           STANT  UNITED STATESATTORNEY
                                                              BarNo./coud No.0739472

epenaltySheetts)attached                                                                             REV4/8/08
Case 9:12-cr-80226-KAM Document 3 Entered on FLSD Docket 12/06/2012 Page 10 of 10




                          U N ITED STA TES DISTR ICT C O U R T
                          SO U TH E RN D ISTR ICT O F FLO R IDA

                                     PEN A LTY SH EET

  D efendant's N am e:SO N N Y AU STIN R AM D EO

  C ase N o:

  Counts #:1through 3

   W ire Fraud:

   Title 18-United StatesCode-Section 1343




  * M ax.penalty:asto each countofconviction :20years'imprisonment;$250,000 tineortwice
  thevalue ofthegrossgain by the defendantorlossby thevidim ,which everisgreater;notmore
  than 3 years supervised release.
